 Case 4:16-cr-00132-A Document 1590 Filed 05/19/20    Page 1 of 1 PageID 11523



                 IN THE UNITED STATES DISTRI~T CO~RT
                      NORTHERN DISTRICT OF T XAS
                          FORT WORTH DIVISION       MAY 1 9 2020
                                                                   :J
                                                     NoRrA~R1(/5Wf~lc1u~;vEXAs
                                                             FILED


HOLLY LEANNE FRANTZEN,               §
                                                     CLERK, U.S. DISTRICT COURT
                                                       By
                                     §
           Movant,                   §
                                     §
vs.                                  §   NO. 4:20-CV-509-A
                                     §   (NO. 4:16-CR-132-A)
UNITED STATES OF AMERICA,            §
                                     §
           Respondent.               §

                             FINAL JUDGMENT

      Consistent with the court's order signed this date,

      The court ORDERS, ADJUDGES, and DECREES that the motion of

movant, Holly Leanne Frantzen, for compassionate release be, and

is hereby, denied.

      SIGNED May 19, 2020.




                                     ited States District Judge
